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                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
                                                                   CASE NUMBER:
ELI Realty Investments, LLC et al.
                                                                                  8:22-cv-01195-JWH-ADS
                                                    Plaintiff(s)
                                v.

Corcoran Group, LLC, et al.
                                                                    MOTION RE: INFORMAL DISCOVERY DISPUTE
                                                  Defendant(s)



The parties have requested an informal discovery conference with Magistrate Judge                              .
Counsel for each party has submitted their respective positions and the issue will be adjudicated in accordance
with the Magistrate Judge's procedures.


   No Hearing Required               Hearing Required.
                                     In-Person Court Hearing
                                     Video Conference
                                     Telephonic


Magistrate Judge Autumn D. Spaeth

Date/Time            January 29, 2024 at 2:00 p.m.

Courtroom:          Telephonic (Call information will be provided by separate email).


 Other:            Each IDC party shall submit the discovery requests (and responses) in dispute directly to the
                   Chambers of Judge Spaeth via email to ADS_Chambers@cacd.uscourts.gov.




 Dated:      01/08/2024                                                  By:             K. Hopkins
                                                                                       Deputy Clerk




CV-19 (11/21)                            MOTION RE: INFORMAL DISCOVERY DISPUTE                            Page 1 of 1
